Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 1 of 28




 EXHIBIT H
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 2 of 28
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                                                                              Page 1
 1                   UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN FRANCISCO DIVISION
 4                                  ---o0o---
 5
 6   ORACLE AMERICA, INC.,                       )
 7           Plaintiff,                          )
 8     vs.                                       )      No. CV 10-03561 WHA
 9   GOOGLE, INC.,                               )
10           Defendant.                          )
11   ______________________________)
12
13
14
15           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
16              VIDEOTAPED DEPOSITION OF HINKMOND WONG
17                     THURSDAY, FEBRUARY 16, 2012
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23
24
25   PAGES 1 - 161


                      Veritext National Deposition & Litigation Services
                                        866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 3 of 28
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                                                                            Page 13
 1        Q.     I'm sorry.
 2               After you finished with Toshiba MRI -- thank
 3   you for the correction -- in 1994, what was your next
 4   position?
 5        A.     My next position was a software engineer at                09:53
 6   Sun Microsystems, Inc.
 7        Q.     When did you start there?
 8        A.     I started in November of 1994.
 9        Q.     And what was your first position with
10   Sun Microsystems, Inc.?                                                09:53
11        A.    My first position, I believe, was staff
12   engineer.
13        Q.    Did there come a time that your title
14   changed?
15        A.    Yes.                                                        09:53
16        Q.    When was that?
17        A.    That I don't remember.
18        Q.    What was your next title?
19        A.    My next title was senior staff engineer.
20        Q.    And approximately when did you obtain that                  09:53
21   title?
22        A.    I don't remember.
23        Q.    Did you have another title after that?
24        A.    You know, I'm going to correct myself.
25   I believe I first started in November 1994 as member                   09:54


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 4 of 28
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                                                                                  Page 15
 1        A.     My new title is consulting member of
 2   technical staff.
 3        Q.     When did you obtain that title?
 4        A.     I obtained that title in August or September
 5   of 2011.                                                                     09:55
 6        Q.     And that's your current title today?
 7        A.     Yes.
 8        Q.     Do you know why you obtained that promotion?
 9               MR. NORTON:        Objection to form.
10              THE WITNESS:          Is there something specific in              09:56
11   your question that you wanted to ask?
12   BY MR. PAIGE:
13       Q.     I'm just wondering if a reason was given to
14   you for your promotion.
15       A.     There were many reasons.                                          09:56
16       Q.     What were they?
17       A.     My participation in different technical
18   projects.    My background in mobile programming and
19   Java ME, which is the Java Micro Edition.                               My
20   participation, also, in releases and products that                           09:56
21   were shipped.      My ability to analyze and to -- analyze
22   different technologies and consult and advise on those
23   technologies.      And there might have been several other
24   reasons, working with others, that were more
25   human resource-related.                                                      09:57


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 5 of 28
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                                                                              Page 16
 1        Q.     Okay.     So you program in Java?
 2        A.     Yes.
 3        Q.     How long have you been programming in Java?
 4        A.     Since -- since about 1997 or 1998.
 5        Q.     What did you start off programming when you                  09:57
 6   started using the Java programming language?
 7        A.     Can you repeat the question?
 8        Q.     Sure.     When you started using the Java
 9   programming language, what was your first project?
10       A.    I'm trying to recall.                                          09:57
11             I believe my first project when I started
12   programming in Java was the HotJava browser -- I'm
13   sorry -- the HotJava applications project.
14       Q.    And what was that project?
15       A.    That project was a desktop for computers                       09:58
16   written in Java and run on a Java Virtual Machine.
17       Q.    What was your next project on Java, if you
18   recall?
19       A.    I believe --
20             MR. NORTON:           Objection to form.                       09:58
21             Go ahead and answer the question.
22             THE WITNESS:            My next project, from what I
23   remember, was the embedded Java and PersonalJava
24   projects.
25   BY MR. PAIGE:                                                            09:58


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 6 of 28
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                                                                                       Page 17
 1           Q.   And what did those projects involve?
 2           A.   Those projects involved programming,
 3   designing, implementation, and architecture of Java
 4   technologies for small devices, mobile devices,
 5   embedded devices.                                                                 09:59
 6           Q.   And when did you take part in that project?
 7           A.   To my best recollection, I took part in that
 8   project from approximately 1997 or late 1997 until --
 9   I'm not sure exactly when the project ended and other
10   projects I was working on continued as my main                                    09:59
11   project, but somewhere around 1999, I believe.
12        Q.      Okay.     What was your next project after that?
13        A.      My next project was PersonalJava.                            And I
14   believe that was -- Java 2 Micro Edition started then,
15   also.                                                                             10:00
16        Q.      And when was this?
17        A.      Somewhere around 1999.
18        Q.      And for how long did you stay on that
19   project?
20        A.      That project has continued and kept going as                         10:00
21   the Java Micro Edition project.                      Instead of "J2ME,"
22   it was called Java ME, or Java Micro Edition.
23        Q.      So are you still working on that project?
24        A.      I continue to work on some sustaining parts
25   of that project.          So the project continues, but then                      10:00


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 7 of 28
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                                                                               Page 23
 1           A.   Yes.    During the time with Sun and Oracle,
 2   I've had consultants reporting to me in a task-related
 3   function where I would assign and review their tasks
 4   and, as a group, lead them in the set of tasks we had.
 5   And they did not report to me in terms of a human                         10:08
 6   resource organizational chart, but in terms of the
 7   projects, they reported to me.
 8           Q.   Who were these consultants?
 9           A.   I don't remember their names.
10        Q.      For whom did they work?                                      10:08
11        A.      They worked for various contract houses for
12   Sun Microsystems.
13        Q.      When you say "contract houses," what do you
14   mean?
15        A.      Sun Microsystems had contractors -- preferred                10:08
16   contractors that were the only software programmer
17   contractors that we could hire on a contract basis,
18   and they worked for the preferred contract houses that
19   were the official contractors that were able to be
20   hired by Sun Microsystems.                                                10:09
21        Q.      Okay.     Are you familiar with the Android
22   system that's at issue in this case?
23        A.      Yes, I am.
24        Q.      When did you first learn of Android?
25        A.      I first learned -- and this is -- is the                     10:09


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 8 of 28
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                                                                           Page 24
 1   question when I first heard about the technology or
 2   read about the technology, just to clarify?
 3       Q.   Yes.
 4       A.   I first heard about the technology
 5   approximately in 2006.                                                10:09
 6       Q.   How did you hear of it in 2006?
 7       A.   It was part of project negotiations and a
 8   potential license negotiation between Google and
 9   Sun Microsystems.
10       Q.   Were you involved in those negotiations?                     10:09
11       A.   Yes, I was.
12       Q.   How were you involved in those negotiations?
13




                                                                           10:10
21




24
                                                                           10:11


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                                        866 299-5127
Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 9 of 28
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                                                                    Page 25




                                                                     :12


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                                 866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 10 of 28
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                                                                             Page 39
 1        A.   A publicly released version?                       That's a
 2   complicated question, because there was the Android
 3   SDK, which has Android technology in it, that was
 4   released early, before any Android phone was released.
 5   That was part of open-source software that was                          10:30
 6   downloadable in -- I believe it was in 2007, somewhere
 7   around there.
 8        Q.   Okay.     When did you first see a released
 9   Android phone?
10        A.   A released Android phone, I don't recall.                     10:30
11   It was after the Android SDK.                 I don't recall
12   specifically the date.
13




20




                                                                             10:31


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 11 of 28
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                                                                             Page 64
 1              MR. NORTON:         Object to the form.
 2              THE WITNESS:          I don't remember.
 3   BY MR. PAIGE:
 4        Q.    Okay.     Now, you were asked to perform certain
 5   tasks for Mark Reinhold related to this case; correct?                  11:15
 6        A.    That is correct.
 7        Q.    When were you first asked to do these tasks?
 8        A.    I believe -- I'm not great with dates -- that
 9   it was about three weeks ago, I was asked to perform
10   these tasks.                                                            11:15
11        Q.    Okay.     And what tasks were you asked to
12   perform?
13        A.    I was asked to perform, in general, a patent
14   portfolio analysis and ranking as it pertained to --
15   with technical analysis, not anything else -- as it                     11:16
16   pertained to the Google negotiations of 2006.
17        Q.    Okay.     And what specifically were you asked
18   to do in terms of a patent portfolio analysis?
19        A.    For the patent portfolio analysis, I was
20   asked -- with my expertise in Java ME, which is Java                    11:16
21   Micro Edition, meant for smartphones, meant for mobile
22   devices, my background in creating technology --
23   creating issue patents for Java ME and Java technology
24   in general, my dealings with the Java community
25   process on standards bodies and creating                                11:16


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 12 of 28
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                                                                            Page 65
 1   specifications for Java, my experience with
 2   negotiations, sitting in on a meeting with Google and
 3   talking to Andy Rubin and negotiating with the Google
 4   engineers on what we had in terms of our stack and our
 5   technology -- to help provide information to                           11:16
 6   Dr. Reinhold in his final report about our patent
 7   portfolio as it applied to the 2006 negotiations with
 8   Google.
 9        Q.   Okay.     Over what period of time did your work
10   take place?                                                            11:17
11        A.   I believe it was a two-week period, starting
12   about three weeks ago.            Again, I'm not great with
13   dates, so...
14        Q.   Were you doing this full-time or did you have
15   other responsibilities during this period?                             11:17
16        A.   I had other responsibilities; however,
17   I was -- this is under legal guidance, under legal
18   directive, that I was told that this was the highest
19   priority, and I made it the number-one priority during
20   that time.                                                             11:17
21        Q.   Okay.     For those two weeks?
22        A.   For those two weeks, yes.
23        Q.   Approximately how many hours did you spend on
24   this project in those two weeks?
25        A.   Ooh.    Approximately -- we even worked over                 11:17


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 13 of 28
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                                                                                 Page 66
 1   e-mail on weekends, so there is -- there is a -- about
 2   10 days, six to eight hours.                   Anywhere between --
 3   anywhere between approximately 50 to 60 hours for
 4   myself only, not for the other team members, because I
 5   know Dr. Reinhold worked much, much longer hours over                       11:18
 6   the weekend than I did at some point.
 7        Q.     Okay.     When you say "we did this over e-mail
 8   on the weekends," do you mean you sent e-mail to and
 9   from one another?
10        A.    No.   There was -- you know, I'm not sure if                     11:18
11   I'm remembering this right.                  I think we worked on our
12   spreadsheets individually at some point during the
13   night during the week, and I think Dr. Reinhold and
14   Mr. Rose worked on their spreadsheets over the
15   weekend.    Now that I think about it, I don't recall                       11:19
16   e-mails going back and forth.
17        Q.    Okay.      What tasks did you -- were you
18   assigned?
19        A.    What tasks was I assigned?                      In general, as
20   I've stated, the task was to -- as my background in                         11:19
21   Java ME and as my background as an engineer and as a
22   Java architect in terms of providing Java technology
23   for smartphones pertained and as my experience with
24   the Google negotiations, sitting in on that meeting
25   and talking to Andy Rubin, reading his product                              11:19


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                                           866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 14 of 28
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                                                                                 Page 67
 1   requirement and understanding the background behind
 2   the request back in 2006, I would provide information
 3   and my technical opinion on the rankings and the
 4   technical merits of our patent portfolio and provide
 5   that information within our group in discussion and in                      11:20
 6   consensus building on that ranking to Dr. Reinhold.
 7        Q.   Okay.     What was the first step in doing that?
 8        A.   The first step in doing that was going over
 9   a -- any of the documents that related to the Google
10   negotiation back in 2006 and trying to understand what                      11:20
11   was the original request coming from Google and what
12   they wanted from Sun Microsystems at the time in terms
13   of their technology for their Android phone.                           We
14   called that project "Armstrong" on our side, and
15   that's the project that Vineet Gupta was working on                         11:21
16   as the sales opportunity to Google.
17        Q.   And what did you do to understand those
18   requirements?
19        A.   Under legal directive, we -- we were able to
20   review documents that were produced from Google that                        11:21
21   included the product requirements document, and also
22   we reviewed the project plan that Vivian Wong provided
23   to -- to our director at the time, Mark Fulks, to
24   understand the effort that would be estimated to
25   provide and release to Google in terms of what Java                         11:21


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 15 of 28
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                                                                            Page 69
 1   take and how many engineers would be required for
 2   purposes of this report?
 3        A.   For this report, no.
 4        Q.   Yes, what did you do for this report?
 5        A.   For this report, from that project plan we                   11:23
 6   were able to -- and from other documents, we were able
 7   to determine what we were trying to deliver to Google
 8   in terms of Java technology, and from that idea of
 9   what Google was requiring and requesting and what we
10   were trying to deliver as part of the project plan and                 11:23
11   the effort estimates, we determined which of our
12   patents in the patent portfolio were important -- of
13   technical importance for Google.
14        Q.   And how did you do that?
15        A.   That's a broad question.                   But with our      11:23
16   background, each individual background we brought to
17   the table, we had various perspectives on what makes
18   a -- a good Java technology stack meant for a
19   smartphone.    With that experience and knowledge and
20   background, each engineer was able to provide                          11:24
21   discussion points and be able to use their background
22   in understanding the requirements for a Java Virtual
23   Machine, for Java specifications, and for Java -- for
24   performance and for things like size, the footprint
25   size, and for things such as security, what would be                   11:24


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                                        866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 16 of 28
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                                                                               Page 70
 1   of technical merit.
 2                And with that as the guidance and with that
 3   in our minds, we helped go through our patent
 4   portfolio, deciding which ones were of most value and
 5   which ones were of substantial value and which ones                       11:24
 6   fell among that ranking in our patent portfolio.
 7           Q.   Did you have a particular area of patents
 8   that you looked at?
 9           A.   After -- after going through the requirements
10   and understanding the documents from during that time                     11:25
11   in 2006, we -- we -- well, George Simion, our attorney
12   at Oracle, was able to search for and find
13   Java-related patents from the time when the
14   negotiations -- being submitted during the time of the
15   negotiations with Google.              And from that, there were          11:25
16   several spreadsheets, lists of patents in our patent
17   portfolio that we were as a group going to go through
18   and see which technology groups -- I should back up
19   here.
20                We decided which technology groups                           11:26
21   represented or which blocks represented the
22   requirements and the requests of Google.                          Those
23   technology blocks represented areas of Java technology
24   stack that would be very important to match with what
25   they requested.      And from those technology blocks,                    11:26


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 17 of 28
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                                                                            Page 98
 1             MR. NORTON:         Objection to form.
 2             THE WITNESS:          Again, I don't -- I don't know.
 3   BY MR. PAIGE:
 4        Q.   Was it five? ten?
 5        A.   It was probably less than five.                              12:04
 6        Q.   Okay.     So fewer than five patents, you spent
 7   30 minutes on.      Is that it?
 8             MR. NORTON:         Objection to form.
 9             THE WITNESS:          Given -- given that we spent
10   time covering all of the patents, then there was no                    12:04
11   patent that we covered more than 30 minutes
12   individually.
13   BY MR. PAIGE:
14        Q.   When you were deciding the scale of 1 to 3 to
15   rank these six patents --                                              12:04
16        A.   Yes.
17        Q.   -- did you draw on the past work you had done
18   to perform that evaluation of 1 to 3?
19        A.   On the past work that I have done?
20        Q.   Yes.                                                         12:04
21        A.   So that means for the patent analysis?
22        Q.   Yes.
23        A.   I -- I had that knowledge, but I couldn't
24   find that, so that I used mainly -- what the goal of
25   the project was at hand was to match what Google had                   12:04


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 18 of 28
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                                                                                    Page 99
 1   requested and required in 2006 during the business
 2   negotiation.      That was foremost on my mind and my
 3   focus when rating the 1-through-3 scale --
 4        Q.   Okay.
 5        A.   -- for the patents.                                                  12:05
 6        Q.   And I hear you saying "mainly" and "mostly."
 7        A.   Right.
 8        Q.   I want to know if you used any of the past
 9   analysis that you had done when evaluating these on a
10   1 to 3 scale for purposes of this project.                                     12:05
11        A.   No, not consciously.
12        Q.   What do you mean by "not consciously"?
13        A.   Of course I had the knowledge of doing
14   analysis, but I made sure to confine my bias and
15   confine my focus when I'm doing the rating to just the                         12:05
16   goal at hand, which is to match what Google had
17   requested in 2006.
18        Q.   When you say "confine my bias," what do you
19   mean by "bias"?
20        A.   Well, whatever information I had from the                            12:05
21   patent analysis.
22        Q.   How was that a bias?
23        A.   Actually, maybe it's not bias.                        It's more of
24   knowledge, whatever my knowledge was from 2006.
25        Q.   Okay.     So you chose not to take into account                      12:06


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                                         866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 19 of 28
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                                                                            Page 100
 1   information that you had about those patents in
 2   carrying out this analysis; is that right?
 3        A.   I chose to make it first and foremost about
 4   what Google had requested and required in 2006 in the
 5   business negotiations.                                                 12:06
 6        Q.   But did you use the information you had
 7   learned from past analysis in order to rank these
 8   1 through 3?
 9        A.   Not to my knowledge.
10        Q.   What do you mean, "not to your knowledge"?                   12:06
11        A.   Of course it was in my brain, so all that
12   experience of the patent analysis was in my brain, but
13   I confined that so -- I confined that so that I
14   focused only on the task at hand, which was the --
15   qualifying that as what Google had requested for a                     12:06
16   smartphone for what we were doing in business
17   negotiations during 2006.
18        Q.   Did you have any writings memorializing your
19   analysis of those six patents?
20        A.   Did I have any writings?                                     12:06
21             MR. NORTON:        Objection to form.
22             THE WITNESS:         So, personally, it wasn't my
23   writings, but -- well, that's privileged information,
24   but I don't -- I don't know if we -- I can give that?
25             MR. NORTON:        Can I help a little bit?                  12:07


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 20 of 28
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                                                                                       Page 103
 1        Q.    Okay.     And you chose to ignore that knowledge
 2   for purposes of ranking these patents; right?
 3        A.    Yes, that is correct.
 4        Q.    Okay.     Why did you choose to ignore your past
 5   work on these patents for purposes of this project?                               12:09
 6        A.    That was not part of this project.                           Part of
 7   this project was not patent analysis for litigation.
 8   This was for analysis of how appropriate these patents
 9   were for smartphone.           So this was a totally different
10   task than what we did in 2007, in 2010.                                           12:09
11        Q.    Okay.     Now, when you initially reviewed these
12   patents, these 200 to 300 in the group that you had
13   here --
14        A.    Yes.
15        Q.    -- what did you do to rank them?                                       12:09
16              MR. NORTON:         Objection to form.
17              THE WITNESS:          I believe I answered that also
18   before.    I took a look at the abstract to see if I
19   understood what the patent was, and if not, then I
20   referred to the description for a better                                          12:09
21   understanding, and then finally the claims in the
22   actual patent itself to clarify any of the other
23   details.
24   BY MR. PAIGE:
25        Q.    What was the process you ended up using to --                          12:10


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                                          866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 21 of 28
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                                                                               Page 145
 1           A.   In addition to myself, the engineers involved
 2   were Dr. Reinhold himself, Dr. Kessler, John Rose, and
 3   Chris Plummer.
 4           Q.   Can you explain what experience you have that
 5   allowed you to first just identify the technology                         01:50
 6   blocks that would be relevant to a smartphone platform
 7   in 2006?
 8           A.   So my experience has been working with Java
 9   since the very beginning of the formation of the Java
10   language.      I started in 1997 working on Java, and then                01:51
11   continuing on to work specifically on embedded Java
12   and PersonalJava and Java ME, which were the versions
13   and editions of Java that ran on smartphones and
14   cell phones and embedded device.                    So I had knowledge,
15   experience, and architectural background on that                          01:51
16   technology, plus I sat in on meetings with Google in
17   terms of being able to determine what their
18   requirements were for their Android platform and what
19   we had in our Java ME technology that would match
20   that.                                                                     01:51
21                (Discussion off the record.)
22   BY MR. NORTON:
23        Q.      Prior to being involved in this project with
24   Dr. Reinhold, had you ever been involved in developing
25   a smartphone stack?                                                       01:51


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                                         866 299-5127
       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 22 of 28
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                                                                                      Page 146
 1          A.   Yes, I have been involved when we created our
 2   Java ME connected device configuration platform for
 3   the Samsung Instinct 2, which is a smartphone that was
 4   released back in 2009, I believe, or 2008.                            And that
 5   was a smartphone that shipped with our Java ME                                   01:52
 6   technology and very similar to the Android phone.
 7          Q.   Now, have you worked with the other engineers
 8   who were involved in this project prior to the project
 9   that you did with Dr. Reinhold?
10          A.   Yes, I've worked with other engineers.                               01:52
11          Q.   And are you familiar with their own
12   experience in Java technology?
13          A.   I'm familiar from my dealings as their
14   colleagues of what they have done in Java technology,
15   yes.                                                                             01:52
16          Q.   And do you believe that the other engineers
17   who were in the room with you -- strike that.
18               Do you have a view as to whether or not the
19   other engineers in this project had adequate
20   experience to be able to identify the relevant                                   01:53
21   technology groups in smartphone platform as of 2006?
22               MR. PAIGE:     Object to the form.
23               THE WITNESS:       Yes.       In my own words,
24   I believe that they did have the qualifications,
25   experience, and knowledge and all the background                                 01:53


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                                                                            Page 147
 1   needed to perform this task.
 2   BY MR. NORTON:
 3        Q.   And did -- what experience do you have that
 4   would allow you to rate the individual patents in this
 5   particular portfolio on a scale of 1 to 3?                             01:53
 6        A.   My -- my specific experience has been, again,
 7   working on Java ME technology that was produced and
 8   shipped in the smartphone; sitting in on a meeting
 9   with Google and hearing what they specifically wanted
10   for their Android phone and understanding from their                   01:53
11   documents what their requirements were for that
12   Android phone; and then using my experience as an
13   architect and a Java ME engineer on the different
14   technology components that would make a -- not only a
15   functioning version of Java technology to run on that                  01:54
16   phone, but one that would run with the proper speed
17   and size -- which is very important, to have a small
18   size on a phone -- and also to have the correct
19   security and other pieces that -- that I've -- over
20   time, through my experience, know about for the                        01:54
21   particular environment that they were looking for back
22   in 2006 for the Google Android phone.
23        Q.   Okay.     And based on your experience with the
24   other engineers involved in this project, do you have
25   a view as to whether those engineers have sufficient                   01:54


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 24 of 28
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                                                                             Page 148
 1   experience and knowledge and skill to rank the
 2   individual patents on the 3-point scale that you came
 3   up with?
 4              MR. PAIGE:        Object to the form.
 5              THE WITNESS:          Yes.       I believe during the        01:55
 6   exercise, the other engineers had many differing areas
 7   where we made sure to cover a broad range of expertise
 8   in terms of engineers and Java technology, and the
 9   other engineers brought to the table their wide and
10   vast knowledge and experience to be able to rank and                    01:55
11   rate properly the patents in our patent portfolio.
12   BY MR. NORTON:
13        Q.    Is there anyone else who works at Oracle
14   today that you -- who, had they been added to the
15   team, would have made the results of this exercise                      01:55
16   more accurate?
17              MR. PAIGE:        Object to the form.
18              THE WITNESS:          No, I don't believe adding any
19   other engineers from Oracle to the team that was
20   producing the exercise would have added any more to                     01:55
21   the exercise.
22   BY MR. NORTON:
23        Q.    Okay.     Now, as a result of the work you did
24   with the other engineers, was the group able to come
25   up with any kind of ranking of the patents that you                     01:56


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 25 of 28
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                                                                            Page 153
 1   technology value or the value that would have been
 2   appropriate for the importance -- level of importance
 3   as addressed by the product requirements document and
 4   other documents and meetings we had with Google, for
 5   their requests for Java for a smartphone at the time                   02:01
 6   in 2006.
 7        Q.    And then I think in terms of the process of
 8   reviewing the patents, were you able to discern which
 9   category a patent should be assigned to based on the
10   information in the abstract, the description -- well,                  02:01
11   the abstract and the description?
12              MR. PAIGE:      Object to the form.
13              MR. NORTON:       Let me strike that and try that
14   again.
15        Q.    In terms of the process of reviewing the                    02:02
16   patents, were you able to determine which category a
17   patent should be assigned to based on the information
18   in the abstract, the description, and the inventors?
19              MR. PAIGE:      Object to the form.
20              THE WITNESS:        Yes.       So in the exercise we        02:02
21   needed to rate the patents, and we were able to do
22   that because the abstract had information about the
23   patents, and as -- as engineers, we -- and engineers
24   that are familiar with day-to-day activities of
25   working with these patents and working with the                        02:02


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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 26 of 28
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                                                                              Page 154
 1   technology that is represented by these patents, we
 2   could understand and identify quickly at times what
 3   the abstract was trying to describe as what the patent
 4   did.    And if we didn't understand it, we could quickly
 5   go to the description.              And then if we needed even           02:03
 6   more information, we could just see from the inventor
 7   that, yes or no, in a minute or less figure out if
 8   this was an important patent or not-important patent.
 9               MR. NORTON:         I have no further questions.
10   Thank you very much.                                                     02:03
11               MR. PAIGE:        Just one further question,
12   Mr. Wong.
13                                 EXAMINATION
14   BY MR. PAIGE:
15          Q.   You referred just now in your answers to                     02:03
16   using your knowledge gained in 2006 from Google
17   Android negotiations; right?
18          A.   Yes.
19          Q.   Okay.     And you had said earlier today that
20   you didn't use any of the knowledge you got in your                      02:03
21   patent analysis in the 2007 time frame; right?
22          A.   That's correct.
23          Q.   How were you able to separate out what you
24   learned from the Google Android in 2006 from your
25   patent analysis in 2007?                                                 02:03


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                                                                            Page 157
 1            I declare under penalty of perjury
 2     under the laws of the State of California
 3     that the foregoing is true and correct.
 4                    Executed on __________________, 2012,
 5   at _______________, ___________________.
 6
 7
 8
 9
10
11                  _______________________________
12                      SIGNATURE OF THE WITNESS
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       Case 3:10-cv-03561-WHA Document 738-8 Filed 02/24/12 Page 28 of 28
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                                                                            Page 158
 1   STATE OF CALIFORNIA          ) ss:
 2
 3      I, SANDRA LEE HOCKIN, C.S.R. No. 7372, do hereby
 4   certify:
 5       That the foregoing deposition testimony was
 6   taken before me at the time and place therein set
 7   forth and at which time the witness was administered
 8   the oath;
 9       That the testimony of the witness and all
10   objections made by counsel at the time of the
11   examination were recorded stenographically by me,
12   and were thereafter transcribed under my direction
13   and supervision, and that the foregoing pages
14   contain a full, true and accurate record of all
15   proceedings and testimony to the best of my skill
16   and ability.
17       I further certify that I am neither counsel for
18   any party to said action, nor am I related to any
19   party to said action, nor am I in any way interested
20   in the outcome thereof.
21        IN WITNESS WHEREOF, I have subscribed my name
22   this 17th day of February, 2012.
23
24                  __________________________________
25                  SANDRA LEE HOCKIN, C.S.R. No. 7372


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